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Menachem
United States                                                                                                 Menachem
516-504-4101




P.F.                                                                                          Balance         $2,920.00
39 Ezra Street                                                                                Forwarded       to #01171
Apartment 3 Bnei                                                                              Invoice #       01107
Barak, NY Israel                                                                              Invoice Date    October 1, 2024
                                                                                              Payment Terms
                                                                                              Due Date




P.F. vs. Y.F.

Time Entries

Date            EE   Activity           Description                                                   Rate    Hours   Line Total

03/19/2024      MW   Draft Document     Drafted Hague Petition.                                    $600.00      1.5    $900.00
                     Draft and Efile    Drafted paperwork and filed it; Phone conference
03/25/2024      MW                                                                                 $600.00      0.4    $240.00
                     Paperwork          with other side's office about case.

                                        review decision, judge's specific rules, fed rules,
05/15/2024      JM   Review of file                                                                $400.00      0.8    $300.00
                                        compliance standards

05/16/2024      JM   email              update to mendy                                              $0.00      0.1       $0.00

                                        Edited OTSC; Phone conference with court; Phone
05/28/2024      MW   Draft Document     conference with client about OTSC; Reviewed                $600.00      5.0   $3,000.00
                                        paperwork with client.

06/21/2024      AK   Draft Document     go through all docs for osc and revise                     $500.00      3.5   $1,750.00

06/24/2024      MW   Review documents   Reviewed paperwork; Filed paperwork on Pacer.              $600.00      1.0    $600.00

                                        Edited paperwork; Conference with court; Drafted
07/11/2024      MW   Draft Document                                                                $600.00      1.0    $600.00
                                        letter to court for condition.

                                        Drafted paperwork; Overnight mailed paperwork to
                                        other side; Phone conference with Process server;
08/23/2024      MW   Phone Call                                                                    $600.00      0.4    $240.00
                                        Phone conference with court about paperwork;
                                        Filed paperwork.

                                        Reviewed paperwork for court; Filed Affidavit of
                     Draft and Efile
08/25/2024      MW                      Service with Court; Drafted and Filed Letter to            $600.00      0.4    $240.00
                     Paperwork
                                        court.
                                        Phone conference with court about case and
08/27/2024      MW   Phone Call                                                                    $600.00      0.5    $300.00
                                        paperwork.

                                                                                                    Totals:    14.6   $8,170.00
Expenses
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Date           EE       Activity                Description                                       Cost       Quantity     Line Total

03/19/2024     MW       Index Number            Paid for Index Number                        $405.00              2.0         $810.00

                        COURT FEES
10/01/2024     MW                               Fee for Process Server                       $600.00              1.0         $600.00
                        MOTION

                                                                                                     Expense Total:       $1,410.00


                                                                                            Time Entry Sub-Total:        $8,170.00
                                                                                                Expense Sub-Total:       $1,410.00
                                                                                                         Sub-Total:      $9,580.00


                                                                                                             Total:      $9,580.00
                                                                                                    Amount Paid:         $6,660.00

                                                                                                    Balance Due:         $2,920.00
                                                                                             Balance Forwarded to Invoice #01171


Payment History

Activity        Date               Payment Method                         Amount       Responsible User      Deposited Into

Balance         Nov 15             --                                     $2,920.00    Menachem White        --
Forwarded       2024, 2:03                                                             (Attorney)
                pm

Invoice         Nov 15             --                                     --           Menachem White        --
Reopened        2024, 2:02                                                             (Attorney)
                pm

Balance         Nov 15             --                                     $2,920.00    Menachem White        --
Forwarded       2024, 12:16                                                            (Attorney)
                pm

Payment         Oct 1, 2024        Non-Trust Credit Account               $6,660.00    Menachem White
Received                                                                               (Attorney)


Account Summary

P.F. 's Trust Balance

Balance As Of 10/01/2024:
$0.00

P.F.'s Credit Balance

Balance As Of 10/01/2024:
$0.00
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Menachem
United States                                                                                                 Menachem
516-504-4101




P.F.                                                                             Balance       $6,520.00
39 Ezra Street                                                                   Invoice #     01171
Apartment 3 Bnei                                                                 Invoice Date  November 15, 2024
Barak, NY Israel                                                                 Payment Terms
                                                                                 Due Date




P.F. vs. Y.F.


Time Entries

Date            EE   Activity          Description                                               Rate         Hours    Line Total
                                       Phone conference with friend of other side; Phone
10/09/2024      MW   Draft Document    conference with client about same; Drafted court       $600.00           0.8     $480.00
                                       documents.
11/12/2024      MW   Draft Document    Emailed beit din paperwork.                            $600.00           0.2     $120.00
                                       Phone conference with Beis Din in New York;
                     Draft and Efile   Reviewed paperwork from Court; Drafted document
11/12/2024      MW                                                                            $600.00           1.0     $600.00
                     Paperwork         for court; Filed document; Phone conference with
                                       Dayan about case.
                     Draft and Efile
11/15/2024      MW                     Drafted order to show cause and other documents.       $600.00           4.0    $2,400.00
                     Paperwork

                                                                                               Totals:          6.0    $3,600.00
Unpaid Invoice Balance Forward

Invoice #             Invoice Total         Amount Paid              Due Date                                    Balance Forward

01107                 $9,580.00             $6,660.00                --                                                $2,920.00

                                                                                           Balance Forward:            $2,920.00
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                                                     Time Entry Sub-Total:   $3,600.00
                                                               Sub-Total:    $3,600.00


                                                          Balance Forward:   $2,920.00


                                                                    Total:   $6,520.00
                                                            Amount Paid:         $0.00

                                                            Balance Due:     $6,520.00
